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JACKET #14GAIR2 CASE # 1411070300.6
DETROIT POLICE DEPARTMENT INVESTIGATOR’S REPORT ___ pate: 11-07-2014
IN CUSTODY DEFENDANT NAME ADDRESS WITH
Yes NO ZIP CODE AGE | SEX | RAGE DOB, IDENT. NO.
Janie
. X14. na SwDe, 49 | M | W-+01219209065 |
wm] . .
"Mi 48124 aT
x 2. Gregory Andrew Aslinger 20850 Mary St., 50 | M | W | 07/04/1964
Tavloar Mi 48180
OPPENGE (10 E FILLED INBY yy bh i. r) aD
D oo MG, fio Jong !
TIME DATE OF OFFENSE? / PLACE OF OFFENSE | GATE OF COMPLAINT COURT FILE NUMBER JACKET NUMBER i
4:00pm Refer Below 8122 W Fort 14GA102
COMPLAINANT'S NAME BEX AGE B.0.B, HAGE RELATION TO. DEF,
MICHIGAN
State of Michigan Strangers
OFHER PENDING CHARGES. COMPLAINANT'S PHONE
PERSON TO SIGN

_ i Lo
ASSISTANT PROSEQUTING ATTORNEY WOT
“ot

DATES OF OFFENSE: All 2014 — 7/9, 7/12, 7/23, 8/4, 8/7, 9/2, 9/8, 9/9, 9/10, 9/11, 9/15, 9/17, 9/26, 9/27, 9/29, 10/4,
10/6, L0/14, 10/16, 10/18x2, 10/28, & 10/29

On November 7, 2014 in the 2400 block of Oakdale a home exploded which caused several homes in the vicinity te catch
on fire. The Detroit Arson Unit conducted an investigation and Ronald Hubbard, WM 52 of 1524 Mullane was arrested
for the crime of Arson. It is believed that the cause of the blast was due to Hubbard scrapping at the home.

On November 24, 2014 Detroit Police Sergeant Rebecca McKay of the General Assignment Unit requested transaction
records for Hubbard from several Southwest-Detroit scrap yards. One of these yards being Southwest Metals, owned by
Defendant. Fawaz and managed by defendant Aslinger. Sergeant McKay reviewed the documents provided. and counted
(47) dates where Hubbard had sold metals to Southwest Metals since January 1, 2014. Upon this discovery, Sergeant
McKay requested the scrap yard provide photographs for each metal transaction beginning July 1, 2014 in an effort to
determine what types of metals Hubbard has been selling the scrap yard. ,

‘Three photographs were provided by defendant Aslinger; the photographs do not have a time stamp, so it is unknown
what dates these three transactions represent, Sergeant McKay contacted defendant Aslingor and indicated that there
were photos missing, Defendant Aslinger indicated that the three photos provided were all that were available, as the
video had overwritten any other photos that could be extracted, Defendant Aslinger indicated that he thought all that was
uld-only-be retrievable back 30 days. Defendant Aslinger was completely unaware that
‘outhwest Metals has been in violation of this law for sll customers since July 1,

(EVIBWED AND
APPROVED BY

rHG6o901

[Signature of Commanding Officer) District or Bureau
WAYNE COUNTY
Y PROSECUTING ATTORNEY'S
( RECOMMENDATION
i ; DATE

TA MSDEMEANOSr LD Favony . IN CUSTODY? NO PRECINCT (DETROIT) General 41-07-2014

t[_]pEny RECOMMEND THE ISSUING OF A WARRANT AGAINST:

AME * ADDRESS AGE | SEX | RACE D.O.B, IDENT. NO.
 —“T-~Fosoph-Fawae-7-Shady-Hallew-Dz,,Dearborn Mi 48124 49 | Mw | on t071 965 | er
2. Gregory Andrew Aslinger 20850 Mary St., Taylor Mi 48180 50 | M WSL «07/04/1964

OFFENSE (TO BE FILLED IN BY PROSECUFCR) ‘ /. dj TAPE NUMBER
(WP freon Lb1N B Vie fe Or}

SECTION if ff ae IN BY PROSECUTOR) ~ . PAGE NUMBER

(D445, 427

COMPLAINANT'S NAME AODRESS city STATE

Detroit Michigan
INSTRUCTIONS

Laur. Mlle. PRE

DETR?
DEPARTMENT
POLICE

Casehbp 4%81021080-MOB-APP ECF No. 16-6, PagelD.369 Filed OS@fO7#PSERP AA 2 of 4

INVESTIGATOR’S REPORT SUPPLEMENT

Paga TWO

Name of
Defendant #1 only _ Joseph Fawaz, Offense No,

Date of Complaint:

DETAILS OF INVESTIGATION (Continued)

WITNESSES:

Detroit Police Sergeant Rebecca McKay #5397 DPD/GAU will testify to the review of receipts and
photographs, to the report and investigators report.

[DETROIT POLICE t RTMENT

REPORT

Case No. 1411070300
Report No. 1411070300.6
Report Date: 12/16/2014

DETROIT POLICE DEPARTMENT

1

Page i of 2

Subject 94-04-0436 info on arson report
Case Report Status | - IN PROCESS Dete Entered 42/16/2014 2:68:52 PM Reporting Officer
County 82+ WAYNE Entered By 234998 - MCKAY, REBECCA 234398 - MCKAY, REBECCA
CilyfTownship ~=«: 99 - DETROIT Date Verified .
Verified By Assisted By
Occurred On = 44/7/2014 -4:00:00 PM Date Approved
{and Between} , Approved By
Location 24017 OAKDALE Connecting Cases Asalet Agency
chsZ Disposition ACTIVE
CensusiGeo Coda = 241 Tacllcal Actions
Grid SW6-0206 - Clearance Reason
Call Sourca Data of Clearance
Reporting Agency = DETROIT POLICE DEPARTMENT
Vehicle Activity Division - 2
Vehicle Traveling Notlfied
Cross Street
Means
Other Means
Motive
Other Motlves
Report Naratve WIGKAY S397 GENERAL ASSIGNMENT UNIT 4918
A: NONE —

NetRMS_MICR.rt v2t

$: FOLLOW UP RONALD HUBBARD - ALLEGED SCRAPPER

C; |, DETROIT POLICE SERGEANT REBECCA MCKAY OF THE GENERAL ASSIGNMENT UNIT RECEIVED INFORMATION
THAT AN EXPLOSION OCCURRED AT 2401 OAKDALE AND THE CAUSE OF THE EXPLOSION WAS ALLEGEDLY FROM A
SGRAPPER. | CONTACTED THE DETROIT ARSON UNIT AND LEARNED THAT A MAN NAMED RONALD HUBBARD HAD
BEEN ARRESTED IN CONNECTION WITH THE INCIDENT, | HAD CONDUCTED AN INVESTIGATION INTO THE THEFT OF
MAIN GAS LINES BELONGING TO MICHCON FROM VACANT HOMES IN THE CITY OF DETROIT, AND SUSPECTED THAT
THIS COULD HAVE BEEN THE CAUSE OF THE EXPLOSION ON OAKDALE. WHEN THIS MAIN LINE iS REMOVED, THE GAS
IS LEFT TO VENT EITHER INTO THE GROUND OR BACK INTO THE VACANT HOME.

ON NOVEMBER 24, 2014 | REQUESTED RECORDS FOR RONALD HUBBARD FROM SEVERAL SCRAP YARDS LOCATED IN
SOUTHWEST DETROIT BEGINNING JANUARY 1, 2014 TO PRESENT (LAFAYETTE RECYCLING, DETROIT IRON AND METAL,
SIMS METAL DYNAMICS, FERROUS PROCESSING, SOUTHWEST METALS AND CITY RECYCLING, BASED ON THE
VAGINITY TO SOUTHWEST DETROIT). | RECEIVED RECORDS FROM LAFAYETTE (TWO DATES}, DETROIT IRON AND
METAL (119 DATES) AND SOUTHWEST METALS (47 DATES).

OVER THE NEXT SEVERAL DAYS | REVIEWED THE RECORDS AND REQUESTED THE PHOTOGRAPHS OF EACH
TRANSACTION MADE (MCL. 446.427 (2}G) FROM THE SCRAP YARDS WHO HAD BEEN PURCHASING METALS FROM

HUBBARD.

1 RECEIVED RECORDS FROM LAFAYETTE RECYCLING WHICH DEPICTED THE MATERIAL SOLD BY HUBBARD IN AN
AERIAL PHOTO ABOVE THEIR SCALE FOR BOTH TRANSACTIONS,

T RECEIVED (3) PHOTOGRAPHS FROM SOUTHWEST METALS. ACCCORDING TO GREG ASLINGER, THE MANAGER, THE
YARD HAS NOT BEEN PHOTOGRAPHING MATERIAL, SIMPLY RELYING ON VIDEO WHICH IS ONLY PRESERVED FOR
APPROXIMATELY 30 DAYS. THEREFORE SOUTHWEST METALS FAILED TO PROVIDE PHOTOGRAPHS FOR (20)
TRANSACTIONS BEGINNING JULY 1, 2014.

| RECEIVED (66) FILES CONTAINING PHOTOS OF RONALD HUBBARD, MATERIAL SOLD AT THE NON FERROUS AND
FERROUS SCALES AND VEHICLES USED TO TRANSPORT THE METALS. ALL OF THE FOLLOWING DATES OCCURED IN
2014 - ON THE FOLLOWING DATES, DETROIT IRON AND METAL EMPLOYEES FAILED TO OBTAIN A PHOTOGRAPH OF
METALS SOLD CONTAINED IN THE VEHICLE TRANSPORTING: 7-10, 7-12, 7-17, 7-25, 8-8, 0-13, 8-18, 8-19, 8-20, 8-22, 8-26X2,

- 8-26X3, 8-27, 8-28, 9-4, 9-5X2, 9-BX2, 9-12, 9-22, 0-23, 9-29, 10-8, 10-9X2, 10-14, 10-16,

| RECEIVED RECORDS FROM FERROUS PROCESSING FROM 2013, NO 2014 DATES,

| RECEIVED A NEGATIVE RESULT FROM BOTH SIMS METAL DYNAMICS AND CITY RECYCLING (CUSTOMER NOT IN

DATABASE).

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! DETROIT POLICE DEPARTMENT CRIME

REPORT
Case No. 1411070300

Repart No, 1411070300.6
Report Date: 12/16/2014

DETROIT POLICE DEPARTMENT

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rage tot? _|

Offense Detail: 9954 - MISCELLANEOUS - GENERAL NON-CRIMINAL

Offense Description 9964 - MISCELLANEOUS - GENERAL NON-CRIMINAL
|BR Code Location 30» RESIDENCE/HOME

{BR Group Offense Completed? YES
Crime Against Hete/Blas = 0 - NONE (NO BIAS)
Offense File Class 99009 - Domesilo Violence §=NO
. PACG
Local Code

Using

Criminal Activity
Weapons

MorGMiG AOR ciate

No, Prem, Entered
Eniry Method
Type Security
Tools Used

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